                                  U ORIGINAL                                              08/27/2024


            IN THE SUPREME COURT OF THE STATE OF MONTANA                              Case Number: PR 24-0006


                                        PR 24-0006



IN RE MOTION FOR ADMISSION UPON UNIFORM
                                                                            ORDER
BAR EXAMINATION SCORE TRANSFER




      Abigail A. Blanford has filed a petition for admission to the State Bar of Montana
pursuant to Rule IV of the Rules for Admission to the Bar of the State of Montana,
governing admission upon Uniform Bar Examination score transfer. The Bar Admissions
Administrator of the State Bar of Montana has informed the Court that the Commission on
Character and Fitness has certified that Blanford has provided the necessary documentation
and has satisfied the requirements prerequisite to admission under Rule IV of the Rules for
Admission to the State Bar of Montana. Therefore,
      IT IS HEREBY ORDERED that upon payment of any application fees and
competition of any other processing requirements as set forth by the Bar Admissions
Administrator, Abigail A. Blanford may be sworn in to the practice of law in the State of
Montana.
       The Clerk is directed to provide copies of this order to the Petitioner and the State
Bar of Montana.
                      `InTh
      DATED this 2 -73-- day of August, 2024.



                                                               Chief Justice
                   ALED
                   AUG 2 7 2024
                 Bowen Greenwood
               Clerk of Supreme Court
                  Stata of Montana




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